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AO 245 B (Rev. 06/05)(W.D.TX.) - JudQment in a Criminal Case




                                         UNITED STATES DISTRICT COURT
                                              Western District of Texas                              4   DEC 22   Pu   3:   3
                                                               AUSTIN DIVISION
                                                                                                 Li.:         7.CURT
UNITED STATES OFAMERICA                                                                                           TEXASF

                                                                                                                       -Q
        v.                                                                Case Number
                                                                          USM Number     40869-380
RONNIE DEANGELO WORTHY
True Name: Ronnie Deangelo Reed Worthy
Aliases: Ronnie D. Worthy; Ronnie Worthy; Ryan Deshawn Worthy; "Boss child

       Defendant.
                                               JUDGMENT IN A CRIMINAL CASE
                                       (For Offenses Committed On or After November 1, 1987)



          The defendant, RONNIE DEANGELO WORTHY, was represented by Ricardo Guzman.

       The defendant pled guilty to Counts 1,2,3,4 of the Indictment on October 10, 2014. Accordingly, the defendant is
adjudged guilty of such Counts, involving the following offenses:


Title & Section                  Nature of Offense                               Offense Ended                    Counts

18 U.S.C. 2119(1)                Carjacking                                      June 18, 2014

18 U.S.C. 924(c)(1)(A)(ii)       Use of Firearm in Furtherance                   June 18, 2014                    2
                                 of a Crime of Violence

 18 U.S.C. 2113(a) and (d)       Bank Robbery                                    June 18, 2014                    3

 18 U.S.C. 924(c)(1)(C)(i)       Use of Firearm in Furtherance                   June 18, 2014                    4
                                 of a Crime of Violence


       As pronounced on December 19, 2014, the defendant is sentenced as provided in pages 2 through 8 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney of any
material change in the defendant's economic circumstances.

             Signed this the   .2'day of December, 2014.



                                                                                                     KS
                                                                                   United States District Judge
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AO   245 B (Rev. 06/05)(W.D.TX.)   Imprisonment




                                                                                                                  Judgment--Page 2
Defendant: RONNIE DEANGELO WORTHY
Case Number: A-14-CR-225 (1) SS

                                                         IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
NINETY-SEVEN (97) months on each of Counts One (1) and Three (3), to be served concurrently; EIGHTY-FOUR (84) months
on Count Two (2), to be served consecutive to Counts One (1), Three (3) and Four (4); THREE HUNDRED (300) months on
Count Four (4), to be served consecutive to Counts One (1), Two (2) and Three (3) for total of FOUR HUNDRED EIGHTY-ONE
(481) months.

           The defendant shall remain in custody pending service of sentence.

           The Court recommends to the Bureau of Prisons that the defendant be placed at FCI Three Rivers for family visitation
reasons




                                                             RETURN

           I   have executed this Judgment as follows:




           Defendant delivered on                                 to
at                                                                              with a certified copy of this Judgment.


                                                                                      United States Marshal

                                                                                 By
                                                                                            Deputy Marshal
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A0 245   B (Rev. 06105)ON.D.TX.) - Supervised Release


                                                                                                                     Judgment--Page 3
Defendant: RONNIE DEANGELO WORTHY
Case Number: A-14-CR-225 (1) SS

                                                        SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) years on each
of Counts One (1) and Three (3); FIVE (5) years on each of Counts Two (2) and Four (4) all to be served concurrently for total
of FIVE (5) years.

         While on supervised release, the defendant shall comply with the mandatory, standard and if applicable, the special
conditions that have been adopted by this Court, and shall comply with the following additional conditions:

X         The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation
          officer, and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the
          probation officer for treatment of narcotic addiction or drug or alcohol dependency which may include testing and
          examination to determine if the defendant has reverted to the use of drugs or alcohol. During treatment, the defendant
          shall abstain from the use of alcohol and any and all intoxicants. The defendant may be required to contribute to the
          costs of services rendered (copayment) in an amount to be determined by the probation officer, based on the
          defendant's ability to pay.

X          The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if deemed
           necessary by the probation officer, the defendant shall participate in a mental health program approved by the probation
           officer. The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be
           determined by the probation officer, based upon the defendant's ability to pay.

X          The defendant shall take any and all prescribed medication as directed by a medical doctor/psychiatrist.

X          The defendant shall submit his or her person, property, house, residence, office, vehicle, papers, computers as defined
           in 18 U.S.C. Section 1030(e)(1), and other electronic communications or data storage devices or media to a search
           conducted by a United States probation officer. Failure to submit to a search may be grounds for revocation of release.
           The defendant shall warn any other occupants that the premises may be subject to searches pursuant to this condition.
           Any search must be conducted at a reasonable time and in a responsible manner. The United States probation officer
           may conduct such a search when a reasonable suspicion exists that the defendant may have violated a condition of
           supervision or a violation of law.
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AO 245 B (Rev. 05/04)(W.D.TX.')        Supervised Release

                                                                                                                         Judgment--Page 4
Defendant: RONNIE DEANGELO WORTHY
Case Number: A-14-CR-225 (1) SS
                                                     CONDITIONS OF SUPERVISION
Mandatory Conditions:
1)    The defendant shall not commit another federal, state, or local crime during the term of supervision.

2)    The defendant shall not unlawfully possess a controlled substance.

3)    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
      15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined by the court)
      for use of a controlled substance, but the condition stated in this paragraph may be ameliorated or suspended by the court if the
      defendant's presentence report or other reliable sentencing information indicates low risk of future substance abuse by the
      defendant.

4)    In supervised release cases only, the defendant must report to the probation office in the district to which the defendant is
      released within 72 hours of release from custody of the Bureau of Prisons.

5)    If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
      weapon.

6)    The defendant shall cooperate in the collection of DNA as directed by the probation officer, if the collection of such a sample is
      authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14135a).

7)    If convicted of a sexual offense and required to register under the Sex Offender and Registration Act, that the defendant comply
      with the requirements of the Act.

8)    If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an approved
      program for domestic violence.

9)    If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with the
      Schedule of Payments sheet of the judgment.

Standard Conditions:

1)    The defendant shall not leave the judicial district without permission of the court or probation officer.

2)    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.

3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

4)    The defendant shall support his or her dependents and meet other family obligations, and shall comply with the terms of any
      court order or order of an administrative process requiring payments by the defendant for the support and maintenance of a child
      or of a child and the parent with whom the child is living.

5)    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
      acceptable reasons.

6)    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment.

7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician.

8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9)    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
      convicted of a felony, unless granted permission to do so by the probation officer.

10)   The defendant shall permit a probation officer to visit him or her at anytime, at home or elsewhere, and shall permit confiscation
      of any contraband observed in plain view of the probation officer.
11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer.
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AO 245 B (Rev. 05/04)(W.D.TX.' - SuDervised Release

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Defendant: RONNIE DEANGELO WORTHY
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12)   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court.

13)   As directed by the probation officer, the defendant shall notify third parties of risks that my be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications, and to
      confirm the defendant's compliance with such notification requirement.

14)   If convicted of a sex offense as described in the Sex Offender Registration and Notification Act or has a prior conviction of a
      State or local offense that would have been an offense as described in the Sex Offender Registration and Notification Act if a
      circumstance giving rise to federal jurisdiction had existed, the defendant shall participate in a sex offender treatment program
      approved by the probation officer. The defendant shall abide by all program rules, requirements and conditions of the sex
      offender treatment program, including submission to polygraph testing, to determine if the defendant is in compliance with the
      conditions of release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
      amount to be determined by the probation officer, based on the defendant's ability to pay.

15)   The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation officer,
      and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the probation officer
      for treatment of narcotic addiction or drug or alcohol dependency which may include testing and examination to determine if the
      defendant has reverted to the use of drugs or alcohol. During treatment, the defendant shall abstain from the use of alcohol and
      any and all intoxicants. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
      amount to be determined by the probation officer, based upon the defendant's ability to pay.

16)   The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if deemed
      necessary by the probation officer, the defendant shall participate in a mental health program approved by the probation officer.
      The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be determined by
      the probation officer, based upon the defendant's ability to pay.

17)   The defendant shall participate in a cognitive behavioral treatment program as directed by the probation officer, and if deemed
      necessary by the probation officer. Such program may include group sessions led by a counselor or participation in a program
      administered by the probation office. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

18)   The defendant shall participate in workforce development programs and services as directed by the probation officer, and if
      deemed necessary by the probation officer, which include occupational/career development, including but not limited to
      assessment and testing, education, instruction, training classes, career guidance, job search and retention services until
      successfully discharged from the program. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

19)   If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision shall
      be a non-reporting term of probation or supervised release. The defendant shall not illegally reenter the United States. If the
      defendant lawfully reenters the United States during the term of probation or supervised release, the defendant shall immediately
      report in person to the nearest U.S. Probation Office.

20)   If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such penalties
      in accordance with the Schedule of Payments sheet of the judgment.

21)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
      supervision that the defendant shall provide the probation officer access to any requested financial information.

22)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
      supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of the
      probation officer, unless the defendant is in compliance with the payment schedule.
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The Court further adopts such of the following special conditions applied to the supervised person by the judge at the time of
sentencing:

1)   Community Confinement: The defendant shall reside in a Community Corrections Center for a period of       months to
     commence on ____________. Further, once employed, the defendant shall pay 25% of his/her weekly gross income for his/her
     subsistence as long as that amount does not exceed the daily contract rate.

     Location Monitoring Program:
2)   Radio Frequency Monitoring: The defendant shall participate in the Location Monitoring Program with Radio Frequency
     Monitoring for a period of        days/months. You shall abide by the rules and regulations of the Participant Agreement Form.
     During this time, you will remain at your place of residence except for employment and other activities approved in advance by
     your probation officer. You will maintain a telephone at your place of residence without "caller ID," "call forwarding," "call waiting,"
     "call back/call block," a modem or a portable cordless telephone for the above period as directed by the probation officer. You
     will wear an electronic monitoring device and follow location monitoring procedures specified by your probation officer. You shall
     pay all or part of the costs of the program based on the ability to pay as directed by the probation officer.

3)   Global Positioning Satellite (GPS): The defendant shall participate in the Location Monitoring Program for a term not to exceed
            days/months, which will include remote location monitoring using           Active      Passive Global Positioning Satellite
     (GPS) tracking. You shall abide by the rules and regulations of the Participant Agreement Form. During this time, you will
     remain at your place of residence except for employment and other activities approved in advance by your probation officer. You
     will maintain a telephone at your place of residence without "caller ID," "call forwarding," "call waiting," "call back/call block," a
     modem or a portable cordless telephone for the above period as directed by the probation officer. At the direction of the
     probation officer, you shall wear a transmitter and be required to carry a tracking device. You shall pay all or part of the costs of
     the program based on the ability to pay as directed by the probation officer.

4)   Community Service: The defendant shall perform            hours of community service work without pay, at a location approved by
     the probation officer, at a minimum rate of four hours per week, to be completed during the first    months of supervision.

5)   Sex Offender Search & Seizure Condition: If required to register under the Sex Offender Registration and Notification Act, the
     defendant shall submit his person, and any property, house, residence, vehicle, papers, computer, other electronic
     communication or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
     enforcement or probation officer with reasonable suspicion concerning a violation of a condition of probation or supervised
     release or unlawful conduct by the person, and by any probation officer in the lawful discharge of the officer's supervision
     functions.
AO 245 B (Rev. 06/05)(W.D.TX.)            CMP
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                                                         CRIMINAL MONETARY PENALTIES! SCHEDULE

          The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal
Bureau of Prisons' Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 501
West Fifth Street, Suite 1100 Austin, Texas 78701.
          The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
                                                 Assessment                                      Fine                                               Restitution
  TOTAL:                                          $400.00                                        $0                                                 $2,300.00

                                                                               Special Assessment

         It is ordered that the defendant shall pay to the United States a special assessment of $400.00.                                                     Payment of this sum
shall begin immediately.

                                                                                            Fine

             The fine is waived because of the defendant's inability to pay.

                                                                                      Restitution

         The defendant shall pay restitution in the amount of $2,300.00 through the Clerk, U.S. District Court, for distribution to
the payee. Payment of this sum shall begin immediately. The Court determines that the defendant does not have the ability to
pay interest and therefore waives the interest requirement pursuant to 18 U.S.C. § 3612(f)(3).

         If the defendant is not now able to pay this indebtedness, the defendant shall cooperate fully with the office of the
United States Attorney, the Bureau of Prisons and/or the United States Probation Office to make payment in full as soon as
possible, including during any period of incarceration. Any unpaid balance at the commencement of a term of probation or
supervised release shall be paid on a schedule of monthly installments to be established by the U.S. Probation office and
approved by the Court.

         The Court directs the United States Probation Office to provide personal identifier information of victims by submitting a
"reference list" under seal Pursuant to E-Government Act of 2002' to the District Clerk within ten(1 0) days after the criminal
Judgment has been entered.

Name of Payee                                                                                                                                               Amount of Restitution

Austin Telco Federal Credit Union                                                                                                                                             $2,300.00
do Karen Smith, Senior Vice President of Branch Operations
8929 Shoal Creek Blvd
Austin, TX 78757

TOTAL RESTITUTION                                                                                                                                                            $2,300.00




           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 u.s.c. § 36640), all non-federal victims must be paid before the United States is paid.

            If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of
the judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

             Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

            Findings for the total amount of losses are required under Chapters 1 09A, 110,       11 OA,   and   11 3A   of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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                                                           FORFEITURE


         The defendant is ordered to forfeit the following property to the United States:

                   Springfield XD, .40 caliber, semi-automatic pistol, model number XD308485
                   Magazine with eight (8) .40 caliber rounds
